Case 4:09-cr-00043-SPF Document 270-1 Filed in USDC ND/OK on 12/28/09 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA

                    Plaintiff,
                                               Case No. 09-CR-043-SPF

 v.

 LINDSEY KENT SPRINGER,
 OSCAR AMOS STILLEY

                    Defendants

                             CERTIFICATION OF COUNSEL

       I, Lindsey Kent Springer (“Springer”), not within any internal revenue district

 encompassing the State of Oklahoma, or within any territorial jurisdiction of the

 United States, and living in the State of Oklahoma, files this certificate of counsel

 under Title 28, Section 144, accompanying an affidavit thereunder, and do herein

 CERTIFY that the affidavit filed under Title 28, Section 144 is made in good faith for

 the reasons stated therein.



                                  Respectfully Submitted

                                  /s/ Lindsey K. Springer
                                  Lindsey K. Springer
                                  5147 S. Harvard, # 116
                                  Tulsa, Oklahoma 74135
                                  918-748-5539/955-8225(cell)




                                           1
Case 4:09-cr-00043-SPF Document 270-1 Filed in USDC ND/OK on 12/28/09 Page 2 of 2




                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of Lindsey Kent Springer’s

 Certification under Title 28, Section 144 was ecf’d on December 28, 2009 to:




 Kenneth P. Snoke,
 Charles O’Reilly,
 Oscar Stilley




                          /s/ Lindsey K. Springer
                          Signature




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